      Case 2:20-cv-09388-CAS-PD Document 137 Filed 09/16/22 Page 1 of 3 Page ID #:376

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Central District
                                                    __________  District of
                                                                         of California
                                                                            __________

                         Yalcin Ayasli                              )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                           Civil Action No. 2:20-cv-09388-CAS-PD
                                                                    )
    Sezgin Baran Korkmaz, et al. (See attachment)                   )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Biofarma Ilac Sanayi ve Ticaret A.S.
                                           AkpÕnar Mah. Osmangazi Cad. No:156, Sancaktepe, Istanbul, Turkey




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Kevin M. Lally, Esq.                      Robert H. Miller, Esq.
                                           355 S. Grand Avenue, Suite 4200    1000 Elm Street, 17th Floor
                                           Los Angeles, CA 90071              Manchester, NH 03110




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
       Case 2:20-cv-09388-CAS-PD Document 137 Filed 09/16/22 Page 2 of 3 Page ID #:377

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:20-cv-09388-CAS-PD

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
Case
 Case2:20-cv-09388-CAS-PD
      2:20-cv-09388-CAS-PD Document
                            Document131
                                     137 Filed
                                          Filed09/01/22
                                                09/16/22 Page
                                                          Page13ofof193
                                                                     3 Page
                                                                        PageIDID#:378
                                                                                 #:157




    1 MCGUIREWOODS LLP
      Kevin M. Lally, Esq. (CA Bar No. 226402)
    2
      355 South Grand Avenue, Suite 4200
    3 Los Angeles, CA 90071
      213-457-9862
    4
      klally@mcguirewoods.com
    5
      SHEEHAN PHINNEY, PA
    6
      Robert H. Miller, Esq. (Admitted Pro Hac Vice)
    7 1000 Elm Street, 17th Floor
      Manchester, NH 03110
    8
      603-627-8145
    9 rmiller@sheehan.com
   10
                            UNITED STATES DISTRICT COURT
   11
                          CENTRAL DISTRICT OF CALIFORNIA
   12
        Yalcin Ayasli,                           CASE NO. 2:20-cv-09388-CAS-PD
   13
                           Plaintiff,
   14
              v.                                 VERIFIED FIRST AMENDED
   15                                            COMPLAINT
        Sezgin Baran Korkmaz; Lev Aslan
   16   Dermen; Jacob Ortell Kingston; Isaiah
        Elden Kingston; Fatih Akol; Kamil
   17   Feridun Ozkaraman; Washakie
        Renewable Energy, LLC; SBK
   18   Holdings A. S., Inc.; SBK Holdings
        USA, Inc.; Bugaraj Elektronik Ticaret
   19   ve Bilisim Hizmetleri A.S.; Mega      JURY TRIAL DEMANDED
        Varlik Yonetim A.S.; Alptekin Yilmaz;
   20   Olessia Zoubkova; Bukombin Bilisim
        ve Teknoloji Anonim Sirketi; Noil
   21   Energy Group, Inc.; Speedy Lion
        Renewable Fuel Investments, LLC;
   22   G.T. Energy, LLC; United Fuel Supply,
        LLC; Isanne, Biofarma Ilac Sanayi ve
   23   Ticaret A.S.; Blane Teknoloji
        Sistemleri Sanayi Ve Ticaret Anonim
   24   Sirketi; Stone Isi Yalitim Sanayi Ve
        Ticaret Anonim Sirketi; and Komak Isi
   25   Yalitim Sistemleri;
   26                      Defendants.
   27
   28

                                 VERIFIED FIRST AMENDED COMPLAINT
                                          Attachment
